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                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA


    RALPH “TREY” JOHNSON, STEPHANIE
    KERKELES,         NICHOLAS    LABELLA,
    CLAUDIA RUIZ, JACOB WILLEBEEK-
    LEMAIR, ALEXA COOKE, RHESA
    FOSTER,           ZACHARY       HARRIS,
    MATTHEW            SCHMIDT,    TAMARA
    SCHOEN STATMAN, GINA SNYDER,
    ESTEBAN SUAREZ and LIAM WALSH,
    individually and on behalf of all persons
    similarly situated,
                                                         Case No. 2:19-cv-5230 (JP)
                  Plaintiffs,

          v.

    NATIONAL COLLEGIATE ATHLETIC
    ASSOCIATION, a/k/a the NCAA, and the                 DEFENDANT MARIST
    following NCAA Division I Member                   UNIVERSITY’S MOTION TO
    Schools as representatives of a Defendant             DISMISS THE THIRD
    Class of all private and semi-public NCAA          AMENDED COMPLAINT AND
    Division I Member Schools:                             MOTION TO JOIN

    CORNELL UNIVERSITY, FORDHAM
    UNIVERSITY, LAFAYETTE COLLEGE,
    SACRED HEART UNIVERSITY,
    VILLANOVA UNIVERSITY,
    UNIVERSITY OF OREGON, TULANE
    UNIVERSITY, UNIVERSITY OF NOTRE
    DAME, UNIVERSITY OF ARIZONA,
    PURDUE UNIVERSITY, DUKE
    UNIVERSITY, and MARIST
    UNIVERSITY1,

                  Defendants.

          Defendant Marist University hereby moves to dismiss all claims asserted against it in the

Third Amended Complaint (Dkt. 134), in their entirety, pursuant to Fed. R. Civ. P. 12(b)(2) and



1
 Effective January 29, 2025, the Board of Regents for and on behalf of the Education Department of the
State of New York voted to amend the corporate name of Marist College to Marist University.


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12(b)(6) (the “Motion”). As set forth more fully in the accompanying memorandum of law in

support of the Motion, this Court does not have personal jurisdiction over the claims asserted

against Marist in this litigation by Plaintiff Liam Walsh – the only plaintiff who asserts any

connection whatsoever to Marist. Further, even if this Court did have jurisdiction over Walsh’s

claims, his only federal claim against Marist, which he brings under the Fair Labor Standards Act,

29 U.S.C. § 201, et seq., (Count I) is time-barred and, even if it were not, does not plausibly state

a claim for recovery. Walsh’s remaining claims against Marist (Counts IV, V and VI) are all state

law claims over which the Court should decline to exercise supplemental jurisdiction, both because

his sole federal law claim fails to state a legally cognizable claim, and because the New York state

law claims themselves fail to state a claim for recovery under any provision of New York law.

         In the event any claim against Marist survives the Motion, Marist respectfully moves for

permission to join Defendant National Collegiate Athletic Association’s Motion to Dismiss the

Third Amended Complaint (Dkt. 203, the “NCAA’s Motion”), to the extent the arguments set forth

therein apply to claims also asserted against Marist (Counts I, IV, V, VI).2 Because Plaintiffs

allege that Marist acted jointly with the NCAA with respect to Counts I, IV, V and VI, the

arguments set forth in the NCAA’s Motion as to each of those counts apply equally to Marist, and

Marist seeks the identical relief sought by the NCAA on any count that survives the Motion. By

opting to seek permission to join the NCAA’s Motion rather than brief the identical arguments,

Marist streamlined and limited the Motion to arguments that apply uniquely to Marist and the

claims of Plaintiff Walsh, thereby serving the interests of judicial economy. Plaintiffs will not be




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  “Permission to join the motion of a co-party is typically granted when the arguments proffered by the party initiating
the motion apply equally to the joining party and granting the motion to join will not prejudice the plaintiff. Permitting
parties to join the pleadings of others serves the interests of judicial economy, reducing the need for parties who seek
the same relief from filing separate pleadings, requiring separate briefing from the parties, and separate dispositions
from the court.” Bush v. Bass Energy Servs., Civ. No. 4:21-CV-01555, 2023 WL 6542761, *2 (E.D. Pa. Oct. 6, 2023).


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prejudiced by permitting Marist to join the NCAA’s Motion, as applicable; rather, they too will

benefit by not having to respond to identical arguments made by multiple defendants.

       Accordingly, Marist seeks dismissal of all claims asserted against it in the Third Amended

Complaint, with prejudice. If the Court denies the Motion in any respect, Marist respectfully

moves the Court for permission to join the arguments set forth in the NCAA’s Motion and requests

that the Court’s rulings on any surviving claim of Counts I, IV, V and/or VI apply with equal force

to Marist.

                                  Request for Oral Argument

       Pursuant to E.D. Pa. Local Rule 7.1(f), Marist respectfully requests oral argument on this

motion.




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DATED: March 24, 2025                   Respectfully submitted,

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